Case 1:19-cr-20450-RNS Document 148 Entered on FLSD Docket 10/17/2022 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


   UNITED STATES OF AMERICA

          v.                                          Case No. 19-20450-CR-Scola

   ALEX NAIN SAAB MORAN, et al.,

       Defendants.


          DEFENDANT ALEX NAIN SAAB MORAN’S NOTICE OF FILING
      DECLARATIONS IN SUPPORT OF MOTION TO DISMISS THE INDICTMENT

         Defendant Alex Nain Saab Moran files the following declarations in support of his Motion
  to Dismiss the Indictment (ECF No. 146):
     1. Declaration of Maria Gonzalez (with Exhibit A), as Attachment 1;
     2. Declaration of Richard L. Ashenoff (with Exhibits A-C), as Attachment 2;
     3. Declaration of Juan Carlos Arrieche Granadillo, as Attachment 3;
     4. Declaration of Dr. Floriano Mandl (with Exhibits A-D), as Attachment 4; and
     5. Declaration of Dr. José Manuel Pinto Monteiro (with Exhibits A-B) as Attachment 5.
  The Declaration of Kendall Wangsgard (with exhibits) is filed as a separate docket entry.
  Date: October 17, 2022                                     Respectfully submitted,

                                                             BAKER & HOSTETLER LLP

                                                             /s/ Lindy K. Keown
                                                             Lindy K. Keown (FL: 117888)
                                                             200 South Orange Avenue
                                                             Suite 2300
                                                             Orlando, Florida 32801
                                                             Tel: (407) 649-4000
                                                             lkeown@bakerlaw.com

                                                             /s/ David B. Rivkin, Jr.
                                                             David B. Rivkin, Jr. (pro hac vice)
                                                             Elizabeth Price Foley (FL: 92380)
                                                             Jonathan R. Barr (pro hac vice)
                                                             Lee A. Casey (pro hac vice)
                                                             Richard Raile (pro hac vice)
                                                             1050 Connecticut Avenue, N.W.


                                                  1
Case 1:19-cr-20450-RNS Document 148 Entered on FLSD Docket 10/17/2022 Page 2 of 2




                                                             Suite 1100
                                                             Washington, DC 20036
                                                             Tel: (202) 861-1500
                                                             drivkin@bakerlaw.com
                                                             efoley@bakerlaw.com
                                                             jbarr@bakerlaw.com
                                                             lcasey@bakerlaw.com
                                                             rraile@bakerlaw.com

                                                             Jonathan B. New (pro hac vice)
                                                             45 Rockefeller Plaza
                                                             11th Floor
                                                             New York, New York 10111
                                                             Tel: (212) 589-4200
                                                             jnew@bakerlaw.com

                                     CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on October 17, 2022, I electronically filed the foregoing with
  the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
  to all counsel of record.
                                                                    /s/ Lindy K. Keown
                                                                    Lindy K. Keown




                                                 2
